Case 18-10573-ref        Doc 46    Filed 12/06/18 Entered 12/06/18 13:36:04                      Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

    In re:

                    SCOTT A. SHERWOOD                   Bankruptcy No. l8-10573REF
                                                    :

                    BARBARaRdK. SHERWOOD

                           Debtor(s)                    Chapter   13


                                             m
             AND NOW, after notice and hearing, the above-captioned            case is hereby
                                          40v 0 I» e          co. V
   Dismissed with Prejudice and debtors are barreifrom ﬁling another bankruptcy petition,




                                                                                             ’
   either individually or jointly with a spouse, without prior leave   of Court.

                                                          FOR THE COURI

                                                                       ”   ‘




                          CZ/J/I e                          02                      E
                                                          Richard E. Fehling, B.        J.


   Interested parties:

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